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 6
                            UNITED STATES DISTRICT COURT
 7
                          SOUTHERN DISTRICT OF CALIFORNIA
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 9                        (HONORABLE JANIS L. SAMMARTINO)
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     UNITED STATES OF AMERICA,                 ) Criminal Case: 3:21-CR-01217-JLS
11                                             )
                   Plaintiff,                  )
12                                             ) ORDER CONTINUING MOTION
                                               ) HEARING/TRIAL SETTING
13                                             )
           vs.                                 )
14                                             )
                                               )
15                                             )
     MARIA ARACELI ROMERO (1),                 )
16                                             )
     ANDRES CHRISTOPHER GARCIA (2),
     ARON ANTHONY ARIAS (3),                   )
17                                             )
                   Defendants.                 )
18                                             )
19
           The United States of America and defendants MARIA ARACELI
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     ROMERO, ANDRES CHRISTOPHER GARCIA, and ARON ANTHONY ARIAS
21
     jointly move to continue the motion hearing/trial setting set for May 28, 2021 at
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23
     1:30 p.m. The parties also jointly move to exclude time under the Speedy Trial

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     Act, 18 U.S.C. § 3161(h)(7).

25         For reasons stated in paragraph 3 of the joint motion, incorporated by
26   reference herein, the court finds the ends of justice served by granting the
27   requested continuance outweigh the best interest of the public and the defendants
28   in a speedy trial.
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           IT IS ORDERED that the joint motion is granted. The motion hearing/trial
 2   setting shall be continued to July 23, 2021 at 1:30 p.m. Defendants shall file
 3   acknowledgments of the new hearing date by June 11, 2021.
 4         IT IS FURTHER ORDERED that the period of delay from the filing of the
 5   joint motion until July 23, 2021, shall be excluded in computing the time within
 6   which the trial must commence under the Speedy Trial Act, 18 U.S.C. § 3161.
 7         IT IS SO ORDERED.
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     Dated: May 25, 2021
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